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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                           No. 18 CR 3475 WJ

ROBERT DUNSWORTH,

               Defendant.

                     1st UNOPPOSED MOTION TO CONTINUE TRIAL
                              AND MOTION DEADLINES

       NOW COMES the defendant, Robert Dunsworth, by and through his counsel, Irma Rivas,

Assistant Federal Public Defender, and moves the Court to continue the trial set for March 4, 2019.

       As grounds for this request, counsel states:

       1.      Under the Speedy Trail Act, a trial must commence within seventy days of the

Defendant’s first appearance in District Court, the filing of an Information, or the return of an

Indictment, whichever is later. 18 U.S.C. § 3161, subd. [c][1]. However, some delay can be

excluded from this seventy-day requirement if the Defendant files pre-trial motions, if the

Defendant is subjected to other, related proceedings, or if the District Court determines that the

ends of justice will be served by granting the requested continuance. 18 U.S.C. § 3161, subd.

[h][1][D], [h][1][B] and [h][7][A]. However, in order to justify a continuance based on the ends

of justice, the record must contain a detailed explanation for why the mere occurrence of the

event identified by the party seeking a continuance results in the need for additional time.

United States v. Toombs, 574 F.3d 1262, 1271 (10th Cir. 2009).
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         2.      The defendant Mr. Dunsworth was arraigned in this case on January 8, 2019

before United States Magistrate Judge Karen B. Molzen on the charge of Possession of a Firearm

by a Felon. Mr. Dunsworth is in the custody of the United States Marshals and housed at the

Sandoval County Detention Center.

         3.      Discovery in this case was received January 16, 2019. There are issues as to how

Mr. Dunswoth’s criminal history might affect his sentence, including whether he would be

sentenced as an Armed Career Criminal. Additional items of discovery were requested from the

government and are pending discussion and resolution. More time is needed to further investigate

this case in general and the issue of sentencing in particular. Moving forward on March 4th, 2019

would not be sufficient time for Mr. Dunsworth to make an educated decision on how to move

forward with his case.

         4.      Mr. Dunsworth agrees, by the filing of this motion, that the period of continuance

will not be included in the calculation of time within which this cause must be disposed pursuant

to the Speedy Trial Act. 18 U.S.C. §3161(h)(7)(A). Failure to grant such a continuance would

likely result in a miscarriage of justice. United States v. Toombs, 574 F.3d 1262, 1268 (10th Cir.

2009).

         5.      Defense counsel also respectfully requests a continuance of motion deadlines.

         6.      Assigned Special Assistant United States Attorney Thomas Outler does not

oppose this continuance.

         WHEREFORE, defendant Robert Dunsworth requests that the Court continue the trial of

his cause for 60 days, or as long as the court finds appropriate.

 I HEREBY CERTIFY THAT on the                         Respectfully submitted,
15th Day of February 2019, I filed
the foregoing electronically through the              FEDERAL PUBLIC DEFENDER
CM/ECF system, which caused SAUSA                     111 Lomas NW, Suite 501

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Thomas Outler to be served by electronic       Albuquerque, NM 87102
means, as more fully reflected on the          (505) 346-2489
Notice of Electronic Filing.

                                                /s/ filed electronically   .
                                               IRMA RIVAS, AFPD
                                               Attorney for Defendant
       filed electronically




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